






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00530-CR






Wardell Moore, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF FAYETTE COUNTY, 155TH JUDICIAL DISTRICT


NO. 2005R-027, HONORABLE DAN R. BECK, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's brief was originally due November 15, 2006.  The time for filing was
extended twice on counsel's motion.  On February 21, 2007, in granting the second extension, the
Court ordered appellant's appointed attorney, Calvin Garvie, to file a brief on appellant's behalf no
later than March 5, 2007.  Counsel did not file a brief as ordered.

The appeal is abated.  The district court shall conduct a hearing to determine whether
the attorney it appointed to represent appellant has abandoned the appeal.  Tex. R. App. P.
38.8(b)(2).  The court shall make appropriate findings and recommendations.  If necessary, the
court&nbsp;shall appoint substitute counsel who will effectively represent appellant.  A record from
this&nbsp;hearing, including copies of all findings and orders and a transcription of the court
reporter's&nbsp;notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record
no&nbsp;later than May 22, 2007.  Rule 38.8(b)(3).



				__________________________________________

				Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Abated

Filed:   April 24, 2007

Do Not Publish


